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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION

                       HONORABLE MARY S. SCRIVEN

   CASE NO. 8:16-cv-274-MSS-CPT             DATE: September 16, 2022
   TITLE: Joseph v. Chronister et al
   TIME: 9:03 AM – 10:28 AM; 10:40          TOTAL: 5 hours, 23 minutes
   AM – 12:10 PM; 1:42 PM - 2:04 PM;
   2:11 PM – 3:00 PM; 3:15 PM –
   4:32 PM
   Courtroom Deputy: Magaly Justiniano
   Court Reporter: David Collier
   Counsel for Plaintiff(s): Christopher S. Anulewicz and Guy Bennett Rubin, Todd
   Norbraten, Patrick Silloway
   Counsel for Defendant(s): Robert M. Fulton, Robert A. Shimberg, Lauren Ayers,
   Rachel Eilers and Marie A. Borland

           CLERK’S MINUTES: PROCEEDINGS OF JURY TRIAL- DAY 5

 9:03 AM     Court called to order.
             The Court and parties discuss preliminary matters.

 9:07 AM     Jury enters the courtroom.

 9:08 AM     Plaintiff’s Witness: Alton Harrison (sworn)
             Direct Examination by Plaintiff’s Counsel, Guy Rubin.
             Cross Examination by Defense Counsel, Robert Shimberg.
             Witness excused.

 10:08 AM    Jury exits the courtroom.

 10:08 AM    Plaintiff’s Witness: Corey Adonis Thornton, Jr. (sworn)
             Direct Examination by Plaintiff’s Counsel, Todd Norbraten.
             Cross Examination by Defense Counsel, Robert Shimberg.

 10:28 AM    Court in recess.
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 10:40 AM    Court back in session.

 10:42 AM    Jury enters the courtroom.

 10:43 AM    Plaintiff’s Witness: Corey Adonis Thornton, Jr. (sworn)
             Direct Examination by Plaintiff’s Counsel, Todd Norbraten.
             Cross Examination by Defense Counsel, Robert Shimberg.
             Redirect Examination by Plaintiff’s Counsel, Todd Norbraten.
             Witness excused.

 11:49 AM    Jury excused for lunch.

 11:50 AM    The Court and parties discuss preliminary matters.

 12:10 PM    Court in recess.

 1:42 PM     Court back in session.
             The Court and the parties discuss preliminary matters.

 1:53 PM     Jury enters the courtroom. Witness returns to the courtroom.
             Continued direct examination.

 2:04 PM     Jury excused. Court in recess.

 2:11 PM     Court back in session.

 2:12 PM     Jury returns to the courtroom.
             Cross examination by Defense Counsel, Robert Shimberg.
             Witness excused.

 3:00 PM     Court in recess.

 3:15 PM     Court back in session.
             The Court and parties discuss preliminary matters.

 3:20 PM     Jury enters the courtroom.

 3:21 PM     Deposition of Robert Pierson read into the record.

 3:50 PM     Reading of Robert Pierson’s deposition concluded.

 3:53 PM     Jury excused for the day.
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             The Court and the parties discuss preliminary matters.

 4:32 PM     Court adjourned. Trial will resume 9/19/2022 at 9:00 A.M.
